Exhibit F
Re: US Holsteins
BRANDON WEBB [btwet>b07@grnail.comJ

Sl!nt 611512017 2:58 AM
To:    "Raymond Castro• <r.castro@powemolding.lnH.com>
Cc:    "John Joseph Dore" <j.dore@baladna.co>, "Mohammed Al Alwanr <m.alwani@powerholding-inU.com>, 1odd@davislivestock.com, justin@davisllvestocic.com



Dear Raymond,

Please note 1he attached subject offer for European Holsteins. As discussed, regardless of where we source, we will apply !he same selection criteria as we would In the
Untted States lo ensure your expectations are met

With regards lo !he subject offer from the United States, we should have that compiled for you in the nexl 24-48 hours. In addition, as we have delivefed over 30,000 head
to Turkey, we have a large pool of 100% US genetics here that we may be able to source from ii the Qafart officials approve Turkey.

Very much look forward to your thoughts on tile Initial offering and feedback on how we can provide a larger more comprehensive package for the balance of 2017 and
2018.

Best regards,
Brandon

On Wed, Jun 14, 2017 al 12:56 PM, BRANDON WEBB <bJwebb07@umail.com> wrote:
 • Dear Raymond,

 • rm probably sharing too much information at !his stage, but ii seems Germany and Belgium veterinarian officials will refuse to sign health cenificates for the export of
   milking animafs.. lnsisling the animals mus! be milked every 12 hours for welfare reasons. In my opinion, this is an extreme position and one not supported by science,
   but it's their position nonetheless.

 ' What we propose Is twofold:

  1) We know very well how to circumvent B!llssels.. !he regional veterinarian authorlties in Italy are very inOuenlial and even we can negotiate protocol with them
  wilhoul consulting Brussels or Rome. We did tile same prior wilh the export of 3,ooo milking Buffalo to the Philippines.

  If this is the model we wlll foHow, we will source animals in Belgium, Luxembourg. Gemlany and Northern Italy, collect them at our isolation barn just 45 minutes from
  MXP Milan and export all from Italy utilizing an endorsed health certificate from the ofl!cials there.

  2) We are looking al alternative sourt:es beside Europe and if the logistical challenges can be resolved. For example, we have one supplying herd In the US milking
  10,000 head that could easily fill your entire immediate needs.

  We can give a soft orrerfrom Europe and the US at this stage, bul we really prefer 10 know which legal channels can be approved by !he Qatari officials before
  pricing.

  look fo1WBrd to your thoughts.

  Best regards,
  Brandon


  On Jun 13, 2017, at 9:58 AM, BRANDON WEBB <blwebb07@omail.com> wrote:

       Dear Raymond,

       I look forward to receiving feedback on the below.

       Additionally, I must say congratulations on the write up yesterday in Bloomberg. Your proposed
       project is boid and quite commendable.

       With that said, I was wondering if you could share the exact timeframe and the totaHty of your
       project? I believe there may be an opportunity for cost savings if we can better understand your
       projected needs- possibly we can offer a combination package of US and European cattle that will
       satisfy your immediate needs and also be a solid genetic foundation for the future of your herd.

       As mentioned, our group established and supplied Uluova Farms which is now averaging 43.5 liters
       (highest herd average in the country) and is considered the highest genetic value herd not only in
       Turkey, but all of Europe. Minister (elik visited the other week and to quote "he could not fmagine
       such a dairy herd exists."

       Additionally, even though Europe and the US are large cattle markets, the actual players within
       those markets are few. I'm concerned that if your group tenders multiple contracts at the same time,
       you will actually be competing against yourself for freight and cattle.
Very much look for.vard to your thoughts.

Best regards,
Brandon

On Jun 13, 2017, at 9:23 AM, Raymond Castro <r.castro@powerho!d1ng-int1.com> wrote:

   Dear Mr. John,

   In behalf of Mr. Alwani please find below email from potential   supplier of Milking cows -   M/s Royal Atlantic Holdings, Ll.C (Usa) for
   your com ments so t hey can submit t heir best o ffer t o us.


   Thank you


   Best Regards,
   Raymond Castro

   From: BRANDON WEBB [mai!to:blwebb07@gmai1.CQffi]
   Sent: Monday, 12 June, 2017 18:12
   To: Raymond Castro
   Ct: Mohammed Al Alwani; todd(i.i)davislivestock.com; jUstin@davislive.stock.com
   Subject: Re: US Holsteins

   Dear Raymond,

   I am very sorry to ask such a simple question, but do you know if Qatar has established protocol witl1 Belgium imd
   Luxembourg? We inquired with the veterinarian authorities in both countries, but it's much less burcuucrntic asking you
   directly. If no protocol is established, would your group have the influence to obtain an import pcnnit detailing the health
   rcquircmcn Ls'?

   We are quite experienced in sourcing milking two year olds from Gcnnany (historically sourcing 500 per month for Italy}.
   but we arc tl1inking of options to Iii! your order in the most expedient way possible. To load a 777 or 747 every two weeks
   with 160-180 head, it would be ideal ifwc can source from all three countries- Gcnnany. Belgium and Luxembourg.

   Best regards,
   Brandon




   On Jun I 0, 2017. at 4:48 PM, Raymond Castro <r.castrn!WJ?Owerholding-intl.com> wrote:

       Dear Brandon,

       Rest a~surcd thut our dairy fann will be completely ready in time upon receipt of the animals.

       Thank you

       Best Regards,
       Raymond Castro
       From: BRANDON WEBB <blwcbb071@gmail.com>
       Sent: Saturday, June IO, 2017 2:31 :28 PM
       To: Raymond Castro
       Cc: Mohammed Al Alwani; toddl@davistivcstock.com; justin(tildavislivestm;k.com
       Subject: Re: US Holsteins

       Dear Raymond,

       I reached out to multiple airlines yesterday and should have their ofTcr by Monday or Tuesday. At this stage, they
       would be the only unknown component oflhe budget.

        But to confirm, your dairy is constructed and can receive all 1,000 head as quickly            <l~   is logistically possible?
Best regards,
Brandon



On Sat, Jun I0, 2017 al 6:47 AM, Raymond Castro <r.castrol@powerholding-intl.com<mailto:r.castro0l
powcrholding-intLcom>> wrote:
Dear Mr. Brandon,

Please give us your offer for cows coming from Germany and haly. Delivery schedule can be discussed but please
consider as urgent requirement as the milk is for Qatar market.

Thank you

Best Regards,


[cid :imagc69&997 .jpg@HOAFEDB&. l CC079B 7]
Raymond Castro

Senior Procurement Officer




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and any printout ihercot: Recipient should check this e-mail and any attachment for the presence of viruses. Power
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From: BRANDON WEBB [mai!to:blwcbb07ailgmail.com<mailto:blwebb07(ti)gmail.com>]
Scnl: Friday, 9 June, 2017 20:22
To: Raymond Castro
Cc: Mohammed Al Alwani; toddr@davislivestock.com<mailto:todd!@davislivestock.com>:
justinui\davislivestock.com<mailto:justin(mdavislivcstock.com>
Subject; US Holsteins

Dear Sir,

Thank you for your inquiry to Davis Livestock. We understand that you arc in need oflactating two year old
Holsteins and tl1ough we would very much prcfor to supply from the United States, I sec two main challenges.

First, there is no <..>stablished protocol between lhc United States and Qatar for live cattle. ll will lake time to
               navigate the bureaucracy of USDA in order to have protocol established and confinned.

               Second, it would be logistically quite difficult (if not impossible) to deliver milking Holsteins within a 24 hour time
               frrnnc. By my estimates, by the time we milk out ull 180 hcud for a single 747-f plane charter, crate the cattle. re·
               fuel in Fr.mkfurt, land in Doha, de-crate the cattle and then complete milking. we arc looking at a 30+ hour window
               which is much too long for US Holsteins milking 35-40 liters.

               With that said, in the immediate term, we can offor lactating two year old<> from Gennany and Italy. Plea.<>c advise if
               acceptable and your exact desired schedule for delivery and we will prepare an offer within the next few days.

               Longer tcnn. we would suggest you consider US Holsteins delivered by sea. With your high infrastructure cost and
               the expense of imported focd, Qatar requires the highest producing and most efficient cattle, which would be US
               Holsteins. Many of our Turkish clients buy from Germany and arc currently averaging - 30-32 liters whereas we
               have numerous clients with US Holsteins averaging 40+ liters at this siagc.

               Best regards,


               Brandon L. Webb
               Managing Partner

               Royal Atlantic Holdings. LLC
               1000 N West Street, Suite 1200
               Wilmington, Delaware 19801
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               FAX : + l.302.397.2804<tc1: (302)'%20397 -2804>
               www.rovalatlantic.us<http://www.rovalallantic.us>




               <imagc698997.jpg>




Attachments:     SubjectOf!er 1QQQ Oatar Pdf
